Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 1 of 39




           EXHIBIT 1
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 2 of 39




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                             OAKLAND DIVISION

 IN RE: SOCIAL MEDIA ADOLESCENT                          MDL 3047
 ADDICTION/PERSONAL INJURY
 PRODUCTS LIABILITY LITIGATION
 _________________________________________

 This Document Relates to:

 JOLEEN YOUNGERS, As Personal Representa-                Case No. 4:22-md-03047-YGR
 tive of the Wrongful Death Estate of I.G.,
 A Deceased Minor Child; MATTHEW GONZA-
 LES; ALISA GONZALES and ELSA ACEVEDO

  Plaintiffs,

 v.

 TIKTOK INC. and BYTEDANCE INC.

  Defendants.

 Member case: 4:22-cv-06456-YGR
 Case in other court: N.M., 1:22-cv-00706-JFR-LF




                          FIRST AMENDED COMPLAINT

       “[W]e must hold social media platforms accountable for the national experi-
       ment they’re conducting on our children for profit.”

       President Joe Biden, March 1, 2022, State of the Union Address.


       COMES NOW, Plaintiff, Joleen Youngers, as the personal representative of the wrongful

death estate of I.G., as well as Matthew Gonzales, Alisa Gonzales, and Elsa Acevedo (collectively,

“Plaintiffs”), by and through their undersigned counsel, complaining of TikTok Inc. and

ByteDance Inc. (collectively the “TikTok Defendants”), and for their causes of action state:
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 3 of 39




                                      INTRODUCTION

1.     This case is about the dangerous, and often deadly, social media product known as TikTok.

       The TikTok Defendants are the owners, designers, programmers, manufacturers, sellers,

       and/or distributors of the TikTok App. The TikTok Defendants’ business model is to ad-

       dict millions of children to their product in order to generate billions of dollars selling

       targeted advertising.


2.     In their rush to cash in on advertising revenues, the TikTok Defendants designed and dis-

       tributed a dangerously defective product to millions of children. TikTok’s design features

       and lack of safeguards encourage children to engage in dangerous behaviors with deadly

       consequences (like choking themselves until they pass out). Despite knowing that TikTok

       encouraged impressionable children to engage in dangerous and deadly behaviors, the Tik-

       Tok Defendants did nothing to correct their defective product and have instead unleashed

       a wave of death for young children, ranging in age from 8 year olds to teenagers.


3.     One of the TikTok Defendants’ victims was a handsome 13 year old boy from New Mexico

       named I.G. In the early morning hours of August 19, 2020, I.G. died by accidentally hang-

       ing himself with a belt while attempting to accomplish the infamous TikTok Blackout

       Challenge – attempting to choke himself until he passed out. I.G.’s attempt at the Blackout

       Challenge proved fatal.


4.     I.G.’s family members (including his grandmother, Elsa Acevedo) discovered I.G. hanging

       on the backside of the bathroom door by a belt wrapped around his neck. They forced their

       way into the bathroom and rushed to get I.G. down by using scissors to cut the belt off his

       neck.




     FIRST AMENDED COMPLAINT                                                        Page 2 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 4 of 39




5.     After cutting off the belt, Elsa Acevedo could hear I.G.’s faint heartbeat. She frantically

       provided CPR and cried out for I.G. to come back and to live. After several attempts at

       CPR, I.G. gasped a final time, but Elsa Acevedo could not revive him. Mrs. Acevedo laid

       on the floor next to her thirteen-year old grandson and held him. By the time the police

       and paramedics arrived, I.G. was pronounced dead.


6.     During these events, I.G.’s phone was discovered in the bathroom, when an alarm or timer

       began sounding. Based on this timer, as well as I.G.’s documented history of attempting

       TikTok challenges, there is no question that I.G.’s death was a result of him attempting a

       TikTok Blackout Challenge – something the TikTok Defendants have known about for

       years but refused to protect children from until very recently.


7.     The TikTok Defendants purposefully designed TikTok with features that create and sustain

       addiction in their users, including children. Using defective automated algorithms and dig-

       ital psychological features in their product such as likes, hearts, direct messages, notifica-

       tions, and reminders, the TikTok Defendants manipulate children to be on TikTok at all

       hours of the day and night and to engage in a repetitive and dopamine-driven feedback loop

       of viewing, watching, sharing, and liking videos.


8.     TikTok’s defective design features (and the lack of adequate safeguards and warnings in

       the product) allow children (who are too young to be on TikTok in the first place) to create

       and use multiple TikTok accounts. TikTok’s defective design features and algorithm also

       constantly remind young children users to get back on TikTok if they have gotten off the

       app for a period of time deemed unacceptable by TikTok.




     FIRST AMENDED COMPLAINT                                                           Page 3 of 38
        Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 5 of 39




9.      The TikTok Defendants and their defective product encourage children to engage in variety

        of dangerous behaviors such as being on TikTok for hours on end, being on TikTok at all

        hours of the night, and attempting dangerous and potentially deadly TikTok challenges

        such as choking oneself until passing out. The TikTok Defendants knew such behaviors

        resulted in mental health problems, sleep deprivation, serious personal injury, and even

        death. The TikTok Defendants have known about these dangers for years, but have failed

        to protect users such as I.G. and many others from such dangers.


10.     Plaintiffs bring this case against the TikTok Defendants to hold them accountable for the

        predictable and known consequences of their experiment on America’s youth. The TikTok

        Defendants hooked I.G. on their dangerously defective product and failed to include safe-

        guards in the design of their product that could have saved I.G.’s life. Despite knowing

        their product encouraged dangerous behaviors, the TikTok Defendants failed to provide

        any warnings or safeguards that could have prevented I.G.’s death.


11.     Plaintiffs do not seek to hold any of the TikTok Defendants liable as the speaker or pub-

        lisher of third-party content or for their good faith efforts to limit exposure to third party

        content; instead, Plaintiffs seek to hold each of the TikTok Defendants responsible for its

        own independent conduct as designers, programmers, manufacturers, sellers, and/or dis-

        tributors of their dangerously defective social media product and for their own independent

        intentional and negligent acts as further alleged herein. As a result, Plaintiffs’ claims fall

        outside any limitations of liability under by Section 230(c) of the Communications De-

        cency Act.


                                             PARTIES




      FIRST AMENDED COMPLAINT                                                           Page 4 of 38
        Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 6 of 39




12.     I.G. was a minor resident of Polvadera, Socorro County, New Mexico. On August 19, 2020,

        at the age of thirteen, I.G. accidentally hung himself while attempting a TikTok blackout

        challenge.


13.     Joleen K. Youngers is an attorney in Santa Fe, New Mexico, who is the court appointed

        personal representative of the wrongful death estate of I.G. and brings claims on behalf of

        the estate. Joleen Youngers, in her capacity as the personal representative of the wrongful

        death estate of I.G., has not entered into a Terms of Service agreement or other contractual

        relationship with TikTok Inc. or ByteDance Inc. in connection with I.G.’s use of TikTok.

        Consequently, Plaintiffs are not bound by arbitration, class action waiver, or any other pro-

        visions set forth in any Terms of Service agreement that I.G. may have entered.       Addi-

        tionally, as the personal representative of the wrongful death estate of I.G., Joleen K.

        Youngers and all other Plaintiffs expressly disaffirm any and all Terms of Service agree-

        ments with TikTok which I.G. may have entered.


14.     Matthew Gonzales is an individual resident of Polvadera, Socorro County, New Mexico.

        Matthew Gonzales is I.G.’s father and is bringing an individual claim for loss of consor-

        tium.


15.     Alisa Gonzales is an individual resident of Polvadera, Socorro County, New Mexico. Alisa

        Gonzales is I.G.’s mother and is bringing an individual claim for loss of consortium.


16.     Elsa Acevedo is an individual resident of Polvadera, Socorro County, New Mexico. Elsa

        Acevedo is I.G.’s grandmother and is bringing individual claims for loss of consortium and

        for negligent infliction of emotional distress.




      FIRST AMENDED COMPLAINT                                                          Page 5 of 38
        Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 7 of 39




17.     Defendant TikTok Inc. is a California corporation with its principal place of business lo-

        cated in Culver City, California. TikTok Inc. owns and operates the TikTok social media

        platform, an application and product that is widely marketed by TikTok and available to

        users throughout the United States. TikTok Inc. does business in the State of New Mexico

        but has not been admitted to do business in this state. TikTok Inc. has not designated and

        does not maintain a statutory agent upon whom service of process may be had. However,

        TikTok Inc has appeared in this lawsuit for the purposes of Removal to Federal Court, and

        therefore service may be had upon its counsel of record: Meghan D. Stanford; Jackson,

        Loman, Stanford, Downey & Stevens-Block, PC; 201 Third St., Suite 1500, Albuquerque,

        NM 87102.


18.     At all times relevant, TikTok Inc. was acting by and through its employees, servants,

        agents, workmen, and/or staff, all of whom were acting within the course and scope of their

        employment, for and on behalf of TikTok Inc.


19.     ByteDance Inc. is a Delaware corporation with a principal place of business at 250 Bryant

        Street, Mountain View, California 94041. ByteDance Inc. does business in the state of New

        Mexico but has not been admitted to do business in this state and has not designated and

        does not maintain a statutory agent upon whom service of process may be had. However,

        ByteDance Inc has appeared in this lawsuit for the purposes of Removal to Federal Court,

        and therefore service may be had upon its counsel of record: Meghan D. Stanford; Jackson,

        Loman, Stanford, Downey & Stevens-Block, PC; 201 Third St., Suite 1500, Albuquerque,

        NM 87102.




      FIRST AMENDED COMPLAINT                                                        Page 6 of 38
        Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 8 of 39




20.     At all times relevant, ByteDance Inc. was acting by and through its employees, servants,

        agents, workmen, and/or staff, all of whom were acting within the course and scope of their

        employment, for and on behalf of ByteDance Inc.


21.     TikTok Inc. is highly integrated with its Chinese parent corporation, ByteDance. TikTok

        Inc.’s engineering manager works on both TikTok and ByteDance’s similar Chinese app,

        Douyin. TikTok’s development processes are closely intertwined with Douyin’s pro-

        cesses. TikTok’s employees are also deeply interwoven and connected with ByteDance’s

        ecosystem. Both corporations and their employees use a ByteDance product called Lark,

        a corporate internal communication system like Slack but with aggressive performance -

        management features aimed at forcing employees to utilize the system at all times.


22.     Collectively, TikTok Inc. and ByteDance Inc. are referred to herein as the “TikTok De-

        fendants.”




                                 JURISDICTION AND VENUE

23.     Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

        as through set forth fully herein.


24.     The court has jurisdiction over Plaintiffs’ action pursuant 28 U.S.C. Sec. 1332(a) as the

        amount in controversy exceeds $75,000.00, exclusive of costs, is between citizens of dif-

        ferent states, and because the TikTok Defendants each have certain minimum contacts with

        the State of New Mexico such that maintenance of the suit in this district does not offend




      FIRST AMENDED COMPLAINT                                                        Page 7 of 38
        Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 9 of 39




        the traditional notions of fair play and substantial justice, and because the injuries and dam-

        ages alleged herein arise directly out of, and are related to Defendants contacts, business,

        and activities in the State of New Mexico.


25.     This Court has personal jurisdiction over each of the Defendants.


26.     The TikTok Inc. and Bytedance Inc. Defendants do business in New Mexico and have

        purposefully availed themselves of the privilege of conducting activities within New Mex-

        ico, and each has sufficient minimum contacts with New Mexico such that this Court’s

        exercise of personal jurisdiction over each social media defendant comports with due pro-

        cess.


27.     I.G. downloaded and used the TikTok app in New Mexico. While I.G. used TikTok in New

        Mexico, the TikTok Defendants were in direct communication with I.G. The TikTok De-

        fendants were sending information to I.G. and collecting information about I.G. while he

        was in New Mexico. While I.G. used TikTok in New Mexico, the TikTok Defendants tai-

        lored I.G.’s interactions on TikTok and controlled his use of TikTok based on information

        the TikTok Defendants collected from I.G. while he was in New Mexico. The TikTok De-

        fendants used the information they collected about I.G. to target ads for I.G. to see while

        he used TikTok in New Mexico.


28.     Upon information and belief, hundreds of thousands of New Mexicans have downloaded

        and used the TikTok app in New Mexico. While those New Mexicans used TikTok in New

        Mexico, the TikTok Defendants were in direct communication with them. The TikTok De-

        fendants were sending information to their New Mexican users and collecting information




      FIRST AMENDED COMPLAINT                                                            Page 8 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 10 of 39




        about those same New Mexican users while they were in New Mexico. While New Mexi-

        cans used TikTok in New Mexico, the TikTok Defendants tailored their interactions on

        TikTok and controlled their use of TikTok based on information the TikTok Defendants

        collected about their New Mexican users. The TikTok Defendants also targeted ads for

        their New Mexico users to see based on information the information the TikTok Defend-

        ants collected about their New Mexican users while those same New Mexicans used Tik-

        Tok in New Mexico.


29.     Venue is proper in the United States District Court for the District of New Mexico under 28

        U.S.C. Sec. 1391(b) as a substantial portion of the acts, omissions, and events giving rise

        to Plaintiffs’ claims occurred in this district.


                                 AMOUNT IN CONTROVERSY

30.     The amount in controversy in this case greatly exceeds of $75,000, exclusive of interest

        and costs.


                                    FACTUAL ALLEGATIONS

        A.      The TikTok Defendants Are Multibillion Dollar Social Media Corpo-
                rations Whose Purpose Is To Collect User Data, Manipulate User Be-
                havior, And Sell Billions Of Dollars Of Targeted Advertising

31.     The TikTok app is ostensibly a video sharing social media platform which allows and en-

        courages users to create, share, and view short video clips. But the TikTok app is also a

        highly sophisticated product which collects massive amounts of data from TikTok users.

        It does so in order to manipulate user behavior and thereby sell billions of dollars of adver-

        tising targeted towards the very users (including children) from whom it continuously col-

        lects data.



      FIRST AMENDED COMPLAINT                                                           Page 9 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 11 of 39




32.     TikTok users, including minor children, who open the TikTok app are confronted with an

        endless stream of curated videos selected by the TikTok Defendants’ proprietary algorithm

        and shown to users on their For You Page which is a “defining feature of the TikTok plat-

        form[.]”1


33.     According to the TikTok Defendants, the For You Page is “central to the TikTok experi-

        ence and where most of our users spend their time.”2


34.     The TikTok Defendants’ algorithm selects which videos are shown to each user based on

        the user’s demographics, including age, user interactions such as the videos viewed and

        shared, and seemingly limitless amounts of metadata tied to each user’s digital presence

        and device settings which is collected and analyzed by the TikTok Defendants.


35.     The TikTok Defendants’ algorithm “delivers content to each user that is likely to be of

        interest to that particular user.”3 The TikTok Defendants boast that “while different people

        may come upon some of the same standout videos, each person’s feed is unique and tai-

        lored to that specific individual.”4


36.     The TikTok Defendants claim that their algorithm is “designed with safety as a considera-

        tion.”


37.     In actuality, the TikTok Defendants’ app and algorithm are designed to maximize user

        engagement and increase corporate profits. According to recent media reports, the TikTok




1
  https://newsroom.tiktok.com/en-us/how-tiktok-recommends-videos-for-you/
2
  Id.
3
  Id.
4
  Id.



      FIRST AMENDED COMPLAINT                                                        Page 10 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 12 of 39




        Defendants’ and their app and algorithm have been wildly successful at accomplishing

        these goals.


38.     The TikTok app is one of the world’s fastest-growing social media products. It is a “global

        phenomenon” with a massive American audience.


39.     In November 2019, the Washington Post reported that the TikTok app had been down-

        loaded more than 1.3 billion times worldwide and more than 120 million times in the

        United States.


40.     Alarmingly, recent estimated age demographics show that a staggering 28 percent of Tik-

        Tok’s users are children under the age of 18.


41.     In 2021, the TikTok Defendants reported that TikTok had one billion active global users

        and revenues of $4.6 billion.


42.     Virtually all of the $4.6 billion dollars of revenue generated by TikTok is the result of

        extensive data collection and the selling of targeted advertising


43.     The current estimated value of the TikTok Defendants’ social media / data collection /

        targeted advertising product is between $50 and $75 billion dollars.


        B.     TikTok Is Designed To Addict, Manipulate, And Ultimately Control
               The Behavior of Children

44.     TikTok is a social media product designed to be used by children and actively marketed to

        children across the United States and in New Mexico. TikTok knows that large numbers

        of children under the age of 13 use its product despite Terms of Use which purport to

        restrict use to individuals who are 13 and older.




      FIRST AMENDED COMPLAINT                                                       Page 11 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 13 of 39




45.     TikTok markets to minor children not only through its own efforts but also works with and

        actively encourages advertisers to create ads targeted at and appealing to teens, and even

        to children under the age of 13. TikTok spends millions of dollars researching, analyzing,

        and experimenting with young children to find ways to make its product more appealing

        and addictive to these age groups, as these age groups are seen as the key to TikTok’s long

        term profitability and market dominance.


46.     TikTok is aware that large numbers of children under the age of 18 use its product without

        parental consent. It designs its product in a manner that allows and/or does not prevent

        such use in order to increase user engagement and, thereby, increase its own profits.


47.     TikTok is also aware that large numbers of children under the age of 13 use its product

        despite Terms of Service which purport to restrict use to individuals who are 13 and older.

        The TikTok Defendants designed its product in a manner that allows and/or does not pre-

        vent such use in order to increase user engagement and, thereby, increase its own profits.


48.     Furthermore, even in instances where the TikTok Defendants have actual or constructive

        knowledge of underage users opening accounts, posting, and otherwise using its social me-

        dia product, the TikTok Defendants fail to prevent and protect against such harmful under-

        age use.


49.     Thus, the TikTok Defendants prey upon vulnerable children users who are thrust into a

        never-ending dopamine feedback loop which creates addiction and encourages children to

        engage in the dangerous behaviors of using TikTok for too many hours each day, using

        TikTok too late at night when they should be sleeping, and engaging in TikTok challenges

        which are known to cause serious injury and even death.



      FIRST AMENDED COMPLAINT                                                       Page 12 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 14 of 39




50.     Children are particularly susceptible to TikTok’s manipulative algorithm and have dimin-

        ished capacity to avoid self-destructive behaviors. The human brain is still developing

        during adolescence in ways consistent with adolescents’ demonstrated psychosocial imma-

        turity. Specifically, adolescents’ brains are not yet fully developed in regions related to

        risk evaluation, emotional regulation, and impulse control.


51.     The frontal lobes, and in particular the pre-frontal cortex, of the brain play an essential part

        in the higher order cognitive functions, impulse control and executive decision-making.

        These regions of the brain are central to the process of planning and decision-making, in-

        cluding the evaluation of future consequences and the weighing of risk and reward. They

        are also essential to the ability to control emotions and inhibit impulses. MRI studies have

        shown that the pre-frontal cortex is one of the last regions of the brain to mature.


52.     During childhood and adolescence, the brain is maturing in at least two ways. First, the

        brain undergoes myelination, the process through which the neural pathways connecting

        different parts of the brain become insulated with white fatty tissue called myelin. Second,

        during childhood and adolescence, the brain is undergoing “pruning” - the pairing away of

        unused synapses, leading to more efficient neural connections. Through myelination and

        pruning, the brain’s frontal lobes change to help the brain work faster and more efficiently,

        improving the executive functions of the frontal lobes, including impulse control and risk

        evaluation. This shift in the brain’s composition continues throughout adolescence and

        into young adulthood.




      FIRST AMENDED COMPLAINT                                                           Page 13 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 15 of 39




53.     In late adolescence, important aspects of brain maturation remain incomplete, particularly

        those involving the brain’s executive functions and the coordinated activity regions in-

        volved in emotion and cognition. As such, the part of the brain that is critical for impulses

        and emotions and mature, considered decision-making is still developing during adoles-

        cence consistent with the demonstrated behavioral and psychosocial immaturity of juve-

        niles.


54.     The algorithms in TikTok’s social media product exploit minor users diminished decision-

        making capacity, impulse control, emotional maturity, and psychosocial resiliency caused

        by minor users’ incomplete brain development. The TikTok Defendants know, or in the

        exercise of reasonable care should know, that because its minor users’ frontal lobes are not

        fully developed, such users are much more likely to sustain serious physical and psycho-

        social harm through their social media use than adult users. Nevertheless, the TikTok De-

        fendants failed to design the TikTok product with adequate protections to account for and

        ameliorate the psychosocial immaturity of its minor users.


55.     Unfortunately for children users of TikTok in the United States and in New Mexico, the

        TikTok Defendants’ primary focus has been on the goals of user engagement, data collec-

        tion, targeted advertising sales, and making billions of dollars.


56.     To make matters even worse, the COVID-19 pandemic accelerated the use of TikTok by

        children. In 2020, a staggering 81 percent of 14-to-22-year-olds reported using social me-

        dia either “daily” or “almost constantly.”


57.     To date, the TikTok Defendants have shirked all their safety responsibilities for the health

        and safety of very children the TikTok Defendants seek to exploit.



      FIRST AMENDED COMPLAINT                                                         Page 14 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 16 of 39




58.     A July 2021 report titled Pathways: How digital design puts children at risk, published by

        5Rights Foundation detailed “alarming and upsetting” results from interviews with digital

        designers and children which lays bare how the commercial objectives of digital social

        media companies, like TikTok, translate into design features that negatively impact chil-

        dren.


59.     The Pathways report shockingly describes the social media world in which today’s children

        are living as one in which the social media conglomerates, including TikTok, push products

        which intend to maximize the time spent using the product and shaping the children’s be-

        havior. A digital design professional interviewed by 5Rights Foundation put it this way —

        “companies make their money from attention. Reducing attention will reduce revenue.”


60.     As one digital design professional included in the Pathways report declared: “[t]here are

        no safety standards — there is no ethics board in the digital space.”


61.     From the outset, the TikTok Defendants have intentionally designed their products to max-

        imize the time children spend on TikTok. The TikTok Defendants have been well aware

        of the risks identified in these (and many other) reports for years and know full well that

        these reports correctly identify serious safety hazards and concerns with their respective

        products. Nevertheless, the TikTok Defendants failed to take any significant action to cor-

        rect any of the risks and safety hazards identified and known to them.


62.     Social media giants like TikTok have seized the opportunity presented by the digital wild

        west to manipulate and control the behavior of vulnerable children.




      FIRST AMENDED COMPLAINT                                                       Page 15 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 17 of 39




63.       The TikTok Defendants have intentionally and deliberately failed to make economically

          and technologically feasible design changes in TikTok to prevent young children from cre-

          ating TikTok accounts, to make TikTok safe for young children, to protect young users

          from addiction to TikTok, to prevent its algorithm for presenting dangerous challenges to

          children (including the Blackout Challenge), and to stop manipulating vulnerable children

          into engaging in dangerous behaviors like choking themselves until they pass out which

          often causes serious injury or even death.


          C.     The TikTok Defendants Know Their Defective Algorithm Virally Spreads
                 Dangerous and Deadly TikTok Challenges That Kill Children

64.       At all relevant times, the TikTok App contained an algorithm designed to promote TikTok

          challenges to young users to increase their engagement and increase TikTok’s profits.

          TikTok challenges involve users filming themselves engaging in behavior that mimics

          and often times “one -ups” other users posting videos engaging in the same or similar

          conduct. These TikTok Challenges routinely involve dangerous or risky conduct. The

          TikTok algorithm presents these often dangerous challenges to users on their For You

          Page and encourages users to create, share, and participate in the challenge.

65.       TikTok’s app and algorithm have caused numerous dangerous TikTok challenges to

          spread virally on TikTok. Some of the dangerous and deadly TikTok challenges include

          the following:

      !        Fire Mirror Challenge                   involves participants spraying shapes on
                                                       their mirror with a flammable liquid and
                                                       then setting fire to it.

      !        Orbeez Shooting Challenge               involves participants shooting random
                                                       strangers with tiny water-absorbent polymer
                                                       beads using gel blaster guns



      FIRST AMENDED COMPLAINT                                                             Page 16 of 38
 Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 18 of 39




!    Penny Challenge                involves sliding a penny behind a partially
                                    plugged-in phone charger

!    Benadryl Challenge             involves consuming a dangerous amount of
                                    Benadryl in order to achieve hallucinogenic
                                    effects

!    Skull Breaker Challenge        involves users jumping in the air while
                                    friends kick their feet out from underneath
                                    them, causing the users to flip in the air and
                                    fall back on their head

!    Cha-Cha Slide Challenge        involves users swerving their vehicles all
                                    over the road to the famous song by the
                                    same name

!    Dry Scoop Challenge            involves users ingesting a heaping scoop of
                                    undiluted supplemental energy powder

!    Nyquil Chicken Challenge       involves soaking chicken breast in cough
                                    medicine like Nyquil and cooking it, boiling
                                    off the water and alcohol in it and leaving
                                    the chicken saturated with a highly concen-
                                    trated amount of drugs in the meat

!    Tooth Filing Challenge         involves users filing down their teeth with a
                                    nail file

!    Face Wax Challenge             involves users covering their entire face, in-
                                    cluding their eyes, with hot wax before rip-
                                    ping it off

!    Coronavirus Challenge          involves users licking random items and sur-
                                    faces in public during the midst of the global
                                    COVID-19 pandemic

!    Scalp Popping Challenge        involves users twisting a piece of hair on the
                                    crown of someone's head around their fin-
                                    gers and pulling upward, creating a “pop-
                                    ping” effect on their scalp




FIRST AMENDED COMPLAINT                                             Page 17 of 38
 Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 19 of 39




!    Cinnamon Challenge              involves users consuming dangerously large
                                     amounts of cinnamon with the aim of
                                     achieving an intoxicating high

!    Throw it in the Air Challenge   involves users standing in a circle looking
                                     down at a cellphone on the ground as some-
                                     one throws an object into the air, and the
                                     goal is to not flinch as you watch the object
                                     fall on one of the participant’s heads

!    Corn Cob Challenge              involves users attaching a corn cob to a
                                     power drill and attempting to each the corn
                                     as it spins

!    Gorilla Glue Challenge          involves users using a strong adhesive to
                                     stick objects to themselves

!    Kiki Challenge                  involves users getting out of moving vehi-
                                     cles to dance alongside in the roadway



!    Salt and Ice Challenge          involves users putting salt on their skin and
                                     then holding an ice cube on the spot for as
                                     long as possible, creating a chemical reac-
                                     tion that causes pain and can lead to burns



!    Snorting Challenge              involves users snorting an entire latex con-
                                     dom into their nose before pulling it out of
                                     their mouth

!    Hot Water Challenge             involves users pouring boiling hot water on
                                     someone else

!    Fire Challenge                  involves users dousing themselves in a
                                     flammable liquid and then lighting them-
                                     selves on fire

!    Milk Crate Challenge            involves participants stacking a mountain of
                                     milk crates and attempting to ascend and de-
                                     scend the unstable structure without falling




FIRST AMENDED COMPLAINT                                             Page 18 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 20 of 39




      !       Water Bottle Chug Challenge               Involves participants drinking an entire bot-
                                                        tle of water in one second




66.       One of the deadliest TikTok Challenges is the Blackout Challenge, which encourages users

          to choke themselves with belts, purse strings, or anything similar until passing out.


67.       Upon information and belief, 13-year-old I.G. died from attempting the Blackout Challenge.

          I.G. attempted the challenge because the TikTok Defendants’ product defects and negligence

          (as alleged herein) allowed I.G. and some of his friends to be on TikTok without adequate

          age verification, parental controls, warnings, time use restrictions (and other safeguards)

          and thus receive the Blackout Challenge on their For You Page and begin daring each other

          to do it.


68.       The TikTok Defendants have long known that the Blackout Challenge and other dangerous

          challenges run rampant on TikTok as a result of their defective algorithms, but they have

          intentionally failed to correct the product defects alleged herein or reform their grossly

          negligent conduct.


69.       Tragically, I.G. is just one of many in a growing list of children killed as a result of the

          TikTok Defendants’ negligence and dangerously defective product.

70.       On January 21, 2021, a 10-year-old girl in Italy died after attempting the Blackout Chal-

          lenge. According to Italian news reports, she tied a belt around her neck and choked

          herself, causing her to go into cardiac arrest. She was rushed to the hospital but was

          declared braindead upon arrival and ultimately died.

71.       On February 26, 2021, 9-year-old A.A. accidentally hung herself with the family dog



      FIRST AMENDED COMPLAINT                                                           Page 19 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 21 of 39




        leash affixed to the back of her bedroom door while attempting the Blackout Challenge.

        Her parents are now suing the TikTok Defendants in California.

72.     On July 15, 2021, 8-year-old L.W. accidentally hung herself with a rope tied to her bed

        while attempting the Blackout Challenge. Her mother is now suing the TikTok Defend-

        ants in California.

73.     On March 22, 2021, a 12-year-old boy, J.H, died after attempting the Blackout Challenge.

        H e was discovered breathless and unconscious by his twin brother and ultimately died

        after 19 days on life support. J.H. attempted the Blackout Challenge by choking himself

        with a shoelace.

74.     On June 14, 2021, a 14-year-old boy died in Australia while attempting to take part in Tik-

        Tok’s Blackout Challenge.

75.     In July 2021, a 12-year-old boy died in Oklahoma while attempting the Blackout Chal-

        lenge.

76.     On December 7, 2021, 10-year-old N.A. from Chester, Pennsylvania excruciatingly died

        by asphyxiation when she attempted to perform the Blackout Challenge.

77.     The TikTok Defendants unquestionably knew that the deadly Blackout Challenge was

        spreading virally through its app and causing the unnecessary accidental deaths of chil-

        dren all over the world.

78.     The TikTok Defendants knew or should have known that failing to take immediate and

        significant action to correct the dangerous product defects in TikTok and to reform their

        outrageous, willful, and wanton conduct would result in more injuries and deaths, espe-

        cially among children, as a result of their users attempting the viral challenge.




      FIRST AMENDED COMPLAINT                                                          Page 20 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 22 of 39




79.     The TikTok Defendants knew or should have known that a failure to take immediate and

        significant corrective action would result in an unreasonable and unacceptable risk that ad-

        ditional users, and additional children, would fall victim to the deadly Blackout Challenge.


80.     The TikTok Defendants have failed to correct the dangerous defects in their product and

        have failed to reform their conduct because (1) they believe they can shirk legal responsi-

        bility for causing the death of young children, including I.G., by claiming immunity for

        their morally bankrupt behavior; (2) they know that allowing outrageous, dangerous and

        deadly challenges to be presented to children users by TikTok’s defective algorithms in-

        creases the user engagement of children on TikTok; (3) they know that more user engage-

        ment of children means they get to collect more data on children users of TikTok; and (4)

        they know that the collection of more data on children increases their ability to sell adver-

        tising to companies wishing to target advertising those same children. In other words, the

        TikTok Defendants knowingly profit from a business model that causes children’s deaths.


81.     In other similar litigation, TikTok Defendants claim that they have absolute immunity from

        legal responsibility for their outrageous conduct and dangerously defective products.


82.     In their view, the TikTok Defendants are free to knowingly put their dangerously defective

        product in the hands of children (without requiring age verification, parental controls, use

        restrictions, warnings, reprogramming of their algorithm, or any other safeguards) because

        they claim it is within their rights to knowingly create a dangerously defective algorithm

        which determines and presents (via computer programming) videos of people choking

        themselves until they pass out to children because its algorithm has concluded such videos

        are well-tailored and likely to be of interest to children 13 years of age and younger.




      FIRST AMENDED COMPLAINT                                                         Page 21 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 23 of 39




83.     The TikTok Defendants’ legal argument will miss the mark in this case. Here, Plaintiffs

        seek to hold the TikTok Defendants legally accountable — not for making publishing de-

        cisions about what third party content to allow on its website — but rather for knowingly

        putting a dangerously defective product (the TikTok app and algorithm) in the hands of

        children without including even the most basic safeguards such as requiring age verifica-

        tion, parental controls, use restrictions, algorithm reprograming, or providing any warnings

        of the known and foreseeable risks and dangers arising from allowing children to use Tik-

        Tok.


        D.     The TikTok Defendants’ Negligence And Their Dangerously Defective
               Product Encouraged I.G. To Engage In The Dangerous Behavior That
               Resulted in I.G.’s Death.


84.     I.G. was born on October 16, 2006. He was a happy, fun loving, and active boy with a

        good sense of humor. He enjoyed playing basketball, computer games, and fishing.


85.     When I.G. was approximately eleven years old, he got his first smart phone. Not long after

        getting his smart phone, I.G. created a TikTok account and began using TikTok.


86.     When I.G. created his first TikTok account, the TikTok Defendants did not require him to

        provide any form of age verification that involved TikTok validating or otherwise ensuring

        accurate verification of age, nor did the TikTok Defendants require him to obtain parental

        approval or have any parental controls over his use of TikTok. After I.G. began using

        TikTok, he would often be on TikTok for hours at a time.


87.     Over time, and because of the addictive design and defective features of TikTok (as alleged

        herein), I.G. developed the habit of using TikTok at night while laying in bed. He would




      FIRST AMENDED COMPLAINT                                                        Page 22 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 24 of 39




        stay up at all hours of the night (and sometimes into the following morning) using TikTok.

        I.G.’s compulsive use of TikTok, at times, caused him to become sleep deprived and even

        altered his mental state and cognitive abilities.


88.     Upon information and belief, through the use of the TikTok app and algorithm, the TikTok

        Defendants presented I.G. and many of his friends with various TikTok challenges, includ-

        ing the TikTok Blackout Challenge. I.G. and his friends thought the challenges were in-

        teresting and funny. Upon information and belief, the TikTok challenges presented on

        I.G.’s For You Page included, among others, the Cinnamon Challenge, the Water Bottle

        Chug challenge, the Blackout Challenge, and potentially many others. In the year preced-

        ing his death, I.G. attempted the Cinnamon Challenge and the Water Bottle Chug Chal-

        lenge.


89.     Upon information and belief, I.G. and his teenage friends may have even dared or chal-

        lenged each other to try the challenges TikTok presented on their For You Pages.


90.     Upon information and belief, sometime during the early morning hours of August 19, 2020,

        after staying up late into the night of August 18 and into the morning hours of August 19,

        while in a sleep deprived and altered mental state, I.G. did in fact attempt the TikTok

        Blackout Challenge. Tragically, however, rather than waking up after choking himself and

        passing out, I.G. did not survive the challenge. Instead, he died by hanging at age 13.


        E.       Plaintiffs’ Claims Against the TikTok Defendants Are Not Subject to
                 Any Enforceable Arbitration Clause and Do Not Implicate Section 230
                 of the CDA.

91.     TikTok has Terms of Service which contain arbitration clauses. I.G. died before he reached

        the age of majority under New Mexico law. As such, the Terms of Service, including any


      FIRST AMENDED COMPLAINT                                                       Page 23 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 25 of 39




        arbitration clauses, were not enforceable against I.G. and are not enforceable against either

        his wrongful death estate, Matthew Gonzales, Alisa Gonzales or Elsa Acevedo. Plaintiffs

        specifically disaffirm any and all Terms of Service agreements with the TikTok Defendants

        into which I.G. may have entered.


92.     Plaintiffs are suing the TikTok Defendants in their capacities as the owners, designers,

        developers, programmers, manufacturers, sellers, suppliers, distributors of their danger-

        ously defective product, TikTok.


93.     None of Plaintiffs’ causes of action against TikTok seek to treat TikTok as the publisher

        or speaker of information or content posted by a third party on TikTok.


94.     None of Plaintiffs’ causes of action against TikTok seek to fault TikTok for any infor-

        mation or content posted on TikTok by a third party.


95.     The TikTok Defendants could have corrected the product defects alleged herein without

        altering any information or content posted on or messaged through TikTok. Likewise, Tik-

        Tok could have acted reasonably under the circumstances alleged herein without altering

        any information or content posted on or messaged through TikTok.


                     CLAIMS AGAINST THE TIKTOK DEFENDANTS

                                     (BY ALL PLAINTIFFS)

                                COUNT I - STRICT LIABILITY

96.     Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

        as though set forth fully herein.




      FIRST AMENDED COMPLAINT                                                         Page 24 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 26 of 39




97.     TikTok is a product for purposes of New Mexico product liability law. The TikTok Terms

        of Service specifically refer to the TikTok “Platform and our related websites, services,

        applications, products, . . .” Terms of Service at paragraph 2. The TikTok Defendants

        designed, manufactured, marketed, sold, and distributed its TikTok product to I.G. in New

        Mexico, and I.G. used the TikTok product in New Mexico exactly as it was designed and

        intended to be used by the TikTok Defendants.


98.     TikTok poses an unreasonable risk of injury and death to its users, especially its teen and

        pre-teen users, and is unreasonably dangerous to its intended users because of one or more

        design defects. Specifically, at all relevant times, TikTok was (and is) defective and unrea-

        sonably dangerous, as designed, because TikTok:


           a. was (and is) designed to create and sustain the addiction of TikTok users, especially

               vulnerable minor children, and to manipulate them into engaging in dangerous be-

               haviors such as maximum TikTok use, all night TikTok use, and participating in

               dangerous and deadly challenges, including but not limited to the Blackout Chal-

               lenge;


           b. was (and is) designed and marketed for unsupervised use by minor children without

               containing all necessary and adequate safety features to protect children like I.G.

               and thereby preyed upon the vulnerability of children;


           c. was (and is) not safe for its intended and represented purposes but rather is unrea-

               sonably dangerous for its intended and foreseeable uses and/or misuses because it

               lacked all necessary safety features to protect users, including I.G.;




      FIRST AMENDED COMPLAINT                                                           Page 25 of 38
 Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 27 of 39




    d. did not (and does not) require age verification of TikTok users before the creation

       and use of a TikTok account in order to protect children;


    e. did not (and does not) contain adequate parental control systems or mechanisms to

       restrict or reduce TikTok use by children;


    f. did not (and does not) contain adequate parental notification systems to restrict or

       reduce TikTok use by children;


    g. did not (and does not) limit and/or prohibit minor children from using TikTok dur-

       ing regular homework and sleeping hours;


    h. contained (and contains) reward and incentive features such as “likes”, “hearts”,

       “notifications”, “reminders”, and “direct messaging” to manipulate, control and en-

       courage minor children to engage in dangerous behaviors like all night TikTok use

       and participating in the Blackout Challenge;


    i. contained (and contains) notification and reminder features to remind and encour-

       age children to use TikTok again and again at all hours of the day and night and to

       manipulate children into engaging in dangerous behaviors including excessive Tik-

       Tok use and participating in the Blackout Challenge;


    j. was (and is) designed with an algorithm programmed to determine (or that mal-

       functioned and determined) that Blackout Challenge videos of individuals choking

       themselves until passing out were well-tailored and likely to be of interest to 13-

       year old I.G. and many other children and purposefully selected and presented those

       Blackout Challenge videos to the For You Pages of 13-year old I.G. and many other



FIRST AMENDED COMPLAINT                                                     Page 26 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 28 of 39




               children in order to manipulate and encourage them to engage in dangerous and

               deadly behaviors like the Blackout Challenge;


           k. was (and is) designed with an algorithm that is not integrated with age verification,

               parental monitoring & notification, use restriction, and other similar protections for

               minor children such as I.G. and lacks the ability to determine that Blackout Chal-

               lenge videos of individuals choking themselves until passing out are not appropriate

               for and should not be selected and presented to the For You Page of 13-year old

               I.G. or any other all other children;


99.     Each of the above design features, included in or omitted from the design of the TikTok

        product, constitute separate product defects. Each separate product defect, singularly or

        collectively, failed to protect and/or manipulated and encouraged minor children, including

        I. G., to engage in the dangerous the behaviors of (1) using TikTok for too many hours

        each day and/or using TikTok during regular sleeping hours (which results in sleep depri-

        vation and an altered mental state), and (2) attempting the Blackout Challenge to choke

        himself until he passed out which, in this particular case, tragically resulted in I.G. acci-

        dentally hanging himself to death in the early morning hours of August 19, 2020.


100.    The TikTok Defendants failed to carefully assess the risks of its product and failed to in-

        clude numerous economically and technologically feasible design alternatives which

        would have protected I.G. and other children and would have prevented I.G.’s death. These

        economically and technologically feasible design alternatives include adequate age verifi-

        cation, parental control & notification systems, use restrictions during regular homework

        and sleeping hours, the elimination or reduction of addicting features, and the modification




      FIRST AMENDED COMPLAINT                                                         Page 27 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 29 of 39




       / reprogramming / integration of the TikTok algorithm to with age verification, parental

       monitoring & notification, use restriction, and other similar protections for minor children

       such as I.G. to enable the algorithm to determine that Blackout Challenge videos of indi-

       viduals choking themselves until passing out are not appropriate for and should not be

       selected and presented to the For You Page of 13-year old I.G. or any other children. None

       of these design alternatives would require TikTok to modify or alter any content on the

       TikTok application.


101.   The design defects of TikTok:


          a. caused I.G. to use TikTok for too many hours each day and/or to use it during the

              night when he should have been sleeping, causing sleep deprivation and an altered

              mental state, and


          b. were producing causes of the harm to and the accidental death of I.G.


102.   The unreasonably dangerous characteristics of TikTok are and have been known to the

       TikTok Defendants but were unknown to minor children like I.G. and his parents, Matthew

       Gonzales and Alisa Gonzales.


103.   In addition to the design defects, TikTok poses an unreasonable risk of injury and death to

       its users and is unreasonably dangerous to its intended users because of the TikTok De-

       fendants’ failure to give adequate warnings of the known risks of TikTok, including fore-

       seeable mental and physical injuries alleged herein, including death, posed by TikTok use

       when some or all such risks could be avoided by giving an adequate warning of such risks.




   FIRST AMENDED COMPLAINT                                                          Page 28 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 30 of 39




       The risks of TikTok were well known to the TikTok Defendants but unknown to minor

       children like I.G. and his parents, Matthew Gonzales and Alisa Gonzales.


104.   The TikTok Defendants’ failure to warn of known risks of TikTok use (including that ad-

       dictive or compulsive use of TikTok can cause physical and mental injuries such as anxiety,

       depression, eating disorders, sleep deprivation, self-harm, suicidal ideation, suicide, par-

       ticipation in dangerous behaviors and even death from attempting TikTok challenges) was

       a producing cause of the harm to and the death of I.G.


105.   The harm to I.G. of which the product defects were a producing cause includes:


          a. addiction;


          b. sleep deprivation and altered mental state;


          c. physical and mental pain and suffering;


          d. emotional distress; and


          e. accidental death.


106.   The product defects of TikTok manipulated, encouraged, and induced I.G. to use TikTok

       excessively during regular sleeping hours and to attempt the Blackout Challenge which

       resulted in and caused I.G.’s pain and suffering, emotional distress, and death.


                                  COUNT II - NEGLIGENCE

107.   Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

       as though set forth fully herein.




   FIRST AMENDED COMPLAINT                                                          Page 29 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 31 of 39




108.   As the owners, designer, manufacturer, marketer, and distributor of TikTok, the TikTok

       Defendants owe TikTok users, especially the minor children that TikTok knowingly per-

       mits to create TikTok accounts and use TikTok, the duty to use ordinary care in designing,

       manufacturing, testing, marketing, distributing, and operating TikTok.


109.   The TikTok Defendants have breached their duty of ordinary care in designing, manufac-

       turing, testing, marketing, distributing, and operating TikTok by:


       a.     designing TikTok to create and sustain user addiction in children by including in

              its design the defective features alleged in Count I;


       b.     failing to consider foreseeable risk of injuries and death to minor children, specifi-

              cally encouraging children to engage in dangerous behaviors such as choking them-

              selves until passing out in order to receive rewards such as likes and hearts;


       c.     allowing minor children to use TikTok, or alternatively, failing to provide for rea-

              sonable parental controls over the use of TikTok by their minor children;


       d.     allowing addictive, compulsive use of TikTok by minor users, or alternatively, fail-

              ing to impose safe limits on such use;


       e.     failing to implement reasonable safeguards to identify minor children and prevent

              addictive, compulsive use by such minor children


       f.     failing to include all necessary safety features in the design of its product (as alleged

              in Count I) to protect users, including I.G., from the risks and hazards of TikTok

              including the risks that addictive or compulsive use of TikTok can cause physical




   FIRST AMENDED COMPLAINT                                                             Page 30 of 38
 Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 32 of 39




       and mental injuries such as anxiety, depression, eating disorders, sleep deprivation,

       self-harm, suicidal ideation, suicide, and death from attempting TikTok challenges;


  g.   failing to make economically and technologically feasible design changes to its

       product (as alleged in Count I) to protect users, including I.G., from the risks and

       hazards of TikTok including the risks that addictive or compulsive use of TikTok

       can cause physical and mental injuries such as anxiety, depression, eating disorders,

       sleep deprivation, self-harm, suicidal ideation, suicide, and death from attempting

       TikTok challenges;


  h.   failing to warn users, including minor children and their parents, about the risks

       attendant to addictive, compulsive use of TikTok (including that addictive or com-

       pulsive use of TikTok can cause physical and mental injuries such as anxiety, de-

       pression, eating disorders, sleep deprivation, self-harm, suicidal ideation, suicide,

       and death from attempting TikTok challenges); and


  i.   concealing from users, including minor children and their parents, known risks at-

       tendant to the addictive, compulsive use of TikTok (including that addictive or

       compulsive use of TikTok can cause physical and mental injuries such as anxiety,

       depression, eating disorders, sleep deprivation, self-harm, suicidal ideation, suicide,

       and death from attempting TikTok challenges);


  j.   failing to instruct users, including minor children and their parents, on how to safely

       use TikTok in order to adequately inform minor children and their parents about

       the risks of TikTok use and how to avoid the dangers and risks the TikTok knew

       about but failed to disclose (including that addictive or compulsive use of TikTok



FIRST AMENDED COMPLAINT                                                       Page 31 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 33 of 39




              can cause physical and mental injuries such as anxiety, depression, eating disorders,

              sleep deprivation, self-harm, suicidal ideation, suicide, and death from attempting

              TikTok challenges);


       k.     The TikTok Defendants’ failure to use ordinary care as pleaded above constitutes

              negligence.


110.   The TikTok Defendants’ acts and omissions constituting negligence, whether singularly or

       in combination:


       a.     caused I.G. to be addicted to TikTok and to use it compulsively;


       b.     induced I.G. to attempt the TikTok blackout challenge; and


       c.     was a proximate cause of the harm to and the death of I.G.


111.   The harm to I.G. of which TikTok’s negligence were a proximate cause includes:


       a.     addiction;


       b.     sleep deprivation and altered mental state;


       c.     physical and mental pain and suffering;


       d.     emotional distress; and


       e.     death.


112.   TikTok’s negligence induced I.G. to attempt the TikTok blackout challenge which resulted

       in and caused I.G.’s pain and suffering, emotional distress, and death.


        COUNT III - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS


   FIRST AMENDED COMPLAINT                                                          Page 32 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 34 of 39




113.   Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

       as though set forth fully herein.


114.   The TikTok Defendants intentionally designed and operated TikTok to create and sustain

       addiction and to facilitate known harmful use of TikTok by underage users.


115.   The TikTok Defendants intentionally created and sustained addiction to TikTok to advance

       their objective of increasing advertising revenues.


116.   The TikTok Defendants failed to warn users, minor children using TikTok and their par-

       ents, of known risks posed by the addictive, compulsive use of TikTok.


117.   The TikTok Defendants intentionally made material misrepresentations concerning the risk

       of harm posed by TikTok use and failed to disclose known facts and information concern-

       ing such risks of harm.


118.   The TikTok Defendants are guilty of intentionally inflicting emotional distress on I.G. be-

       cause:


       a.       TikTok Defendants’ conduct was extreme and outrageous;


       b.       the TikTok Defendants acted intentionally to cause severe emotional distress in

                minor children using TikTok such as I.G. or, alternatively, the TikTok Defendants’

                conduct was reckless because the TikTok Defendants acted intentionally with utter

                indifference to or conscious disregard for the rights and safety of minor children

                using Instagram such as I.G.; and


       c.       as a result of the TikTok Defendants, conduct, I.G. experienced severe emotional




   FIRST AMENDED COMPLAINT                                                          Page 33 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 35 of 39




              distress.


119.   The conduct of the TikTok Defendants in designing and operating TikTok to create and

       sustain addiction and to encourage addictive, compulsive use of their product was and is

       extreme and outrageous because if goes beyond the bounds of common decency.


120.   The conduct of the TikTok Defendants in misrepresenting the risk of harm posed by Tik-

       Tok and failing to disclose known facts and information concerning such risks of harm

       from addictive, compulsive use of TikTok was and is extreme and outrageous because if

       goes beyond the bounds of common decency.


121.   I.G.’s emotional distress caused by the TikTok Defendants was severe because it was of

       such intensity and duration that no ordinary person would be expected to tolerate it.


122.   The TikTok Defendants engaged in such extreme and outrageous conduct either intention-

       ally to cause severe emotional distress in its users or recklessly with utter indifference to

       or conscious disregard for the safety of TikTok users.


123.   The TikTok Defendants’ extreme and outrageous conduct induced I.G. to attempt the Tik-

       Tok blackout challenge and was a proximate cause of I.G.’s pain and suffering, mental

       anguish, and death.


         COUNT IV - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

              (ELSA ACEVEDO AGAINST THE TIKTOK DEFENDANTS)

124.   Plaintiff Elsa Acevedo re-alleges and incorporates by reference all previous paragraphs of

       this Complaint as though set forth fully herein.




   FIRST AMENDED COMPLAINT                                                           Page 34 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 36 of 39




125.   Plaintiff Elsa Acevedo had a close family relationship with I.G. Mrs. Acevedo was I.G.’s

       grandmother, and she loved him dearly. Elsa Acevedo and I.G. loved one another and

       enjoyed spending time together.

126.   Elsa Acevedo saw and observed how of the TikTok Defendants’ dangerously defective

       product and negligence manipulated and encouraged I.G. to participate in the dangerous

       and deadly behaviors such as late night or all night TikTok use and the participation in the

       Blackout Challenge.

127.   On the morning of August 19, 2020, Elsa Acevedo helped get I.G. off the bathroom door

       and lowered him to her floor. She touched his body and listened for signs of life. She

       heard a I.G.’s faint heartbeat after getting him on the floor and attempted to resuscitate I.G.

       by performing CPR. Elsa Acevedo held I.G. in her arms as he died on August 19, 2020.

       Elsa Acevedo suffered severe emotional distress as a result of seeing and observing I.G.’s

       death on the morning of August 19, 2020.

128.   The TikTok Defendants breached their duty of ordinary care to I.G. and caused I.G.’s death

       for all the reasons previously alleged in Plaintiffs’ Counts I through III of this Complaint

       against the TikTok Defendants. The TikTok Defendants’ breach of their duty of care was

       a proximate cause of the severe emotional distress Mrs. Acevedo suffered as a result of

       seeing and observing I.G.’s death on the morning of August 19, 2020.


                              COUNT V - WRONGFUL DEATH

129.   Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

       as though set forth fully herein.




   FIRST AMENDED COMPLAINT                                                            Page 35 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 37 of 39




130.   The tortious and wrongful acts and omissions of all Defendants resulted in the death of I.G.

       as pleaded above. Accordingly, all Defendants are liable to I.G.’s wrongful death estate

       under NMSA §§ 41-2-1 and 41-2-3.


                           COUNT VI - LOSS OF CONSORTIUM

131.   Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

       as though set forth fully herein.


132.   Matthew Gonzales and Alisa Gonzales are I.G.’s parents, and they had a close and mutually

       dependent relationship with I.G.. Elsa Acevedo is I.G.’s grandmother, and she had a close

       and mutually dependent relationship with I.G.. I.G.’s suffering and wrongful death has

       caused Matthew Gonzales, Alisa Gonzales and Elsa Acevedo to suffer severe emotional

       distress due to the loss of society and companionship they enjoyed with I.G.


133.   Alisa Gonzales, Matthew Gonzales and Elsa Acevedo seek recovery of all damages recov-

       erable under New Mexico from the TikTok Defendants for their respective claims for loss

       of consortium.


                                COMPENSATORY DAMAGES

134.   Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

       as though set forth fully herein.


135.   Plaintiffs request judgment against the TikTok Defendants for all compensable injuries,

       including, without being limited to, the following:


       a.     I.G.’s physical, mental, and emotional pain and suffering;


       b.     I.G.’s enjoyment of life;



   FIRST AMENDED COMPLAINT                                                          Page 36 of 38
       Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 38 of 39




        c.     I.G.’s medical expenses;


        d.     Wrongful death damages as allowed by NMSA § 41-2-3;


        e.     Loss of consortium sustained by Alisa Gonzales, Matthew Gonzales., Elsa

               Acevedo;


        f.     Costs;


        g.     Interest as allowed by law; and


        h.     Any other relief which the Court deems just and proper.


                                    PUNITIVE DAMAMGES

136.    Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

        as though set forth fully herein.


137.    The acts and omissions of the TikTok Defendants which resulted in harm to Plaintiffs as

        pleaded above were malicious, reckless, willful, wanton, oppressive, and/or fraudulent.

        Accordingly, Plaintiffs seek recovery of punitive damages in addiction to compensatory

        damages as allowed by New Mexico law.


                                            JURY DEMAND


138.    Plaintiffs hereby demand a trial by jury.


        WHEREFORE, Plaintiffs pray for judgment against the TikTok Defendants for compen-

satory and punitive damages, for interest on their damages as allowed by law, for costs, and for all

just relief.




    FIRST AMENDED COMPLAINT                                                          Page 37 of 38
      Case 4:22-md-03047-YGR Document 85-2 Filed 11/21/22 Page 39 of 39




DATED: November 8, 2022.                       Respectfully submitted,

                                               By: /s/ Anthony K. Bruster
                                                 Anthony Bruster
                                                 New Mexico Bar No. 20283

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                                               Attorneys for Plaintiffs



                                 CERTIFICATE OF SERVICE

        I hereby certify that copies of the foregoing were served on all parties registered to receive
service by ECF on November 8, 2022.


                                               By: /s/ Anthony K. Bruster
                                                 Anthony Bruster


                              CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with counsel for TikTok, who opposes the merits but does
not oppose the filing of a First Amended Complaint.


                                               By: /s/ Anthony K. Bruster
                                                 Anthony Bruster




   FIRST AMENDED COMPLAINT                                                             Page 38 of 38
